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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )               MEMORANDUM OPINION
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant Sterling
McKoy’s (hereinafter “defendant”) motion for modification of

sentence pursuant to Title 18, U.S.C. § 3582(c)(2) (Filing No.

442).   Under § 3582(c)(2), defendant seeks a modification of his

term of imprisonment as a result of an intervening post-

sentencing change in the United States Sentencing Guidelines

(“Sentencing Guidelines”).      Specifically, defendant seeks

modification pursuant to Amendment 706, which sets base offense

levels for crack quantities triggering the five- and ten-year

mandatory minimums two levels lower.          Eighth Circuit precedent
forecloses defendant’s argument, and he is therefore not entitled

to retroactive application of Amendment 706 to the Sentencing

Guidelines.

           On June 18, 2003, defendant was named in a one-count

indictment charging him and two of his co-defendants with

conspiracy to distribute 50 grams or more of cocaine base

(“crack”), in violation of 21 U.S.C. § 846.            On December 17,

2004, after a jury found defendant guilty of the conspiracy

count, defendant appeared before this Court for sentencing.
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Defendant was sentenced to a term of 348 months imprisonment.                  On

March 1, 2005, the Eighth Circuit reversed defendant’s sentence

and remanded to this Court for resentencing pursuant to United

States v. Booker, 543 U.S. 220 (2005).           On April 1, 2005,

defendant was resentenced by this Court to a term of 300 months

imprisonment.

           On November 1, 2010, amendments to the Sentencing

Guidelines became effective to apply to all offenders sentenced

after that date.    See 18 U.S.C. § 3553(a)(4)(ii) (sentencing
courts must consider the guidelines that “are in effect on the

date the defendant is sentenced”).         Defendant now urges this

Court to retroactively apply Amendment 706 to his case for a

possible sentence reduction.        The Eighth Circuit has held,

however, that these amendments to the Sentencing Guidelines are

not retroactive.    See United States v. Orr, No. 09-3644, 2011 WL

722405, at *12 (8th Cir. Mar. 3, 2011) (“Thus, as we have

previously recognized, Congress expressed no desire in the

[amendments to the sentencing guidelines] that [they] be applied
retroactively, and consequently the federal Savings Statute

clearly forecloses [defendant’s] argument for retroactive

application.”)




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           Accordingly, defendant’s motion for modification of

sentence will be denied.      A separate order will be entered in

accordance with this memorandum opinion.

           DATED this 16th day of March, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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